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                                                                  FILED
                                                                    APR 2 5 2017
                                                                 Clerk, U.S. District Court
                  IN THE UNITED STATES DISTRICT COURT              DistrictotMontana
                                                                          Billings


                      FOR THE DISTRICT OF MONTANA

                              HELENA DIVISION

LL LIQUOR, INC., d/b/a Lolo Liquor,
a Montana corporation,
                                                  No. CV 15-71-H-SEH
                          Plaintiff,

vs.                                               OPINION AND ORDER


STATE OF MONTANA; STEVE
BULLOCK, in his official capacity as
the Governor of Montana;
MONTANA DEPARTMENT OF
REVENUE; MIKE KADAS, in his
official capacity as the Director of the
Montana Department of Revenue; and
JOHN DOES I-X,

                          Defendants.

                                   Introduction

      This case arises from an Agency Franchise Agreement 1 ("Contract")

between PlaintiffLolo Liquor ("LL") and Defendant the State of Montana



      1
          Doc. 5-1.
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Department of Revenue ("DOR"). The Contract was originally executed between

the DOR and LL's predecessor-in-interest,2 who assigned his interest in the

Contract to LL in August-September, 2014. 3

       The Montana Legislature enacted Senate Bill 193 4 in 2015, which amended,

inter alia, Montana Code Annotated§ 16-2-101(4) (2013). In turn, Montana Code

Annotated§ 16-2-101(4) (2015) ("16-2-101(4)") amended the commission rate for

all agency franchise liquor stores, including the agreement between LL and the

DOR.

       LL brought this action alleging that 16-2-101(4) violates the contract

clauses of the United States and Montana Constitutions by decreasing LL's

commission rate under the Contract. LL also asserted claims: for breach of

contract and breach of the covenant of good faith and fair dealing; for "class of

one" equal protection violation; for unconstitutional taking; and for substantive

due process violation.

       Defendants moved for summary judgment on all claims on March 7, 2017. 5



       2
           LL's predecessor-in-interest is identified in the papers by name only: Robin Hawkinson.
       3
           Neither party challenges the validity of the assignment.
       4
           See Doc. 8-2.
       5
           Doc. 36.

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LL moved for partial summary judgment on the Contract Clause claim on March

9, 2017. 6 Plaintiff filed a Motion in Limine to Exclude the State's Expert Opinion

Testimony on March 17, 2017. 7 Defendants filed a multiple issue Motion in

Limine on March 20, 2017. 8 All motions are fully briefed.

      The Court conducted a hearing on the motions 9 on April 21, 201 7. Plaintiff

was represented by Jesse C. Kodadek, Esq. and Ronald A. Bender, Esq.

Defendants were represented by Christopher Sweeney, Esq., W. Anderson

Forsythe, Esq., and Teresa Grace Whitney, Esq.

      For the stated reasons which follow, Defendants are entitled to judgment on

each and all claims asserted by Plaintiff. 16-2-101(4) did not "substantially

impair" Plaintiffs rights under the Contract Clause. LL's claims for breach of

contract and breach of the implied covenant of good faith and fair dealing fail as a

matter of law. LL has asserted no valid "class of one" equal protection claim.

Change in the commission rate paid to LL did not violate its rights under the

Takings Clause. Implementation of the change in law under 16-2-101(4) did not



      6
          Doc. 39.
      7
          Doc. 45.
      8
          Doc. 47.
      9
          Doc. 36; Doc. 39; Doc. 45; Doc. 47.

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deprive LL of substantive due process rights.

                                  Summary Judgment Standard

       Summary judgment is appropriate when the record establishes there is no

genuine issue of material fact and that the moving party is entitled to judgment as

a matter of law. 10 "[S]ubstantive law [identifies] which facts are material. Only

disputes over facts that might affect the outcome of the suit under the governing

law will properly preclude the entry of summary judgment." 11 A "dispute about a

material fact is 'genuine' ... ifthe evidence is such that a reasonable jury could

return a verdict for the nonmoving party." 12 "The evidence of the non-movant is to

be believed, and all justifiable inferences are to be drawn in [its] favor." 13 '"In

order to carry its burden of production, the moving party must either produce

evidence negating an essential element of the nonmoving party's claim or defense

or show that the nonmoving party does not have enough evidence of an essential

element to carry its ultimate burden of persuasion at trial."' 14


       10
            Fed. R. Civ. P. 56.
       11
            Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

       12   Id.
       13
            Id. at 255.
       14
         Jones v. Williams, 791 F.3d 1023, 1030-31 (9th Cir. 2015) (quoting Nissan Fire &
Marine Ins. Co. v. Fritz Cos., Inc., 210 F.3d 1099, 1102 (9th Cir. 2000)).

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                                           Baclq:round

       1.        Undisputed Facts

                 a.         Agency Franchise Stores

       The State of Montana, through the DOR, like 16 other states, maintains a

monopoly on the distribution of liquor within the state. 15 DOR maintains and

operates "a liquor warehouse that sells only to agency franchise [liquor] stores at

rates fixed by the DOR." 16 Ninety-six agency stores currently exist in Montana. 17

Agency stores are authorized to sell wholesale to bars and taverns at a statutorily-

fixed price or at retail to the public at a price set at not less than the state-fixed

minimum price. 18

       The contract terms between each agency store and DOR are reflected in

separate agency franchise agreements negotiated between DOR and the stores. 19

The base purchase price is set by DOR and is the same for all stores. 20 The



       15
          Doc. 53 at if 1 (Defendants' Statement of Disputed Facts re: Lolo Liquor's Motion for
Partial Summary Judgment on Count 1, Pursuant to L.R. 56.l(b)) (hereinafter "DSDF").
       16
            DSDF at i-12.
       17
            DSDF at if 3.
       18
            Doc. 50 at ifif 11, 13 (LL Liquor's Statement of Disputed Facts) (hereinafter "PSDF").
       19
            PSDF at ifif 5, 6.
       20
            PSDF at if 7.

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ultimate purchase price paid by stores is taxed at a discounted level based on

specific criteria. 21 The discount is referred to as a "commission rate." 22 An agency

store's gross profit is determined by the difference between the price it pays to

DOR at its predetermined commission rate and its sales price to third parties.

      Prior to implementation of 16-2-101(4), an agency store's commission rate

was based on three statutory discounts: a negotiated discount, "the weighted

average discount ratio, and the sales volume discount." 23 The weighted-average

discount ratio in tum was based on sales data from fiscal year 1994. 24 However,

that weighted-average discount ratio was held unconstitutional by Judge Pinski,

Eighth Judicial District, Cascade County on April 1, 2015. 25

                 b.         Senate Bill 193 (16-2-101(4))

       Senate Bill 193, which became effective February 1, 2016, amended, inter

alia, the commission rate calculation for all agency stores. 26 The new 16-2-101(4)

rate program specified a commission rate of 16% for stores with annual liquor


      21
            PSDF at if 7.
      22
            See PSDF at if 6.
      23
            PSDF at if 8.
       24
            PSDF at if 8.
       25
            See Doc. 12-3.
       26
            PSDF at ifif 23, 24.

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purchases of not more than $250,000, with commission rates decreasing on a

sliding scale to 12.15% for stores with more that $7 million in annual liquor

purchases. 27 Changes in commission rates were slated to be phased in over three

years, beginning February 1, 2016. 28

                c.      Lolo Liquor
                                                                                29
      LL's current owners, Josh and Leigh Paffhausen, purchased LL in 2014.

Their predecessor-in-interest had entered into a ten-year term Agency Franchise

Agreement with DOR on March 1, 2013. 30 The Contract was signed by

Paffhausens on August 21, 2014, 31 after it was reviewed by Paffhausens' retained

legal counsel. 32

       As noted above, before 16-2-101(4) was implemented, LL's commission

rate was 16.144%. 33 If it were assumed that LL would purchase more than $7

million of liquor annually from the state as it claims, LL' s commission rate would



       27
            PSDF at~ 25.
       28
            PSDF at~ 26.
       29
            DSDF at~ 25.
       30
            DSDF at~ 25.
       31
            See Doc. 5-1.
       32
            PSDF at~ 20.
       33
            PSDF at~ 27; see Doc. 5-1 at 11-12.

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be 12.15% after the three-year phase-in period. 34

      LL made approximately $1 million in liquor purchases in 2013 under the

previous owner. 35 After Paffhausens bought LL in 2014, the company had $4.86

million in sales in 2014, $8.3 million in 2015, and $10.5 million in 2016. 36

      The substantial growth of LL is attributed primarily to its acquisition of

wholesale accounts (bars and taverns) that previously were serviced by other

agency stores. 37 LL claims it was able to acquire these accounts by offering

ancillary services such as payment by credit card and stocking of shelves with

product, as opposed to merely dropping off cases of liquor in a bar. 38 Since bars

and taverns pay the same price for liquor purchased in Montana regardless of from

which agency store the purchase is made, ancillary services like credit card

payment and courtesy shelve stocking are means by which agency stores

differentiate themselves in the eyes of bar and tavern owners. 39




      34
           PSDF at ii 27.
      35
           PSDF at ii 30.
      36
           PSDF at ii 30.
      37
           PSDF at iiii 31, 32.
      38
           DSDF at iiii 37, 38 (both disputed on other grounds).
      39
           See DSDF at ii 39.

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       2.        Disputed Facts

       The only possibly-material factual dispute between the parties concerns a

conversation between Josh Paffhausen and one or more DOR employees that

occurred prior to Paffhausens' purchase ofLL. 40 It is claimed that DOR employees

told Josh Paffhausen that LL's commission rate could never be decreased. DOR

disputes the assertion. However, even if the disputed assertion were shown to have

been made by DOR, it would, in this case, remain as a textbook example of

evidence prohibited from introduction by the parol evidence rule.

       "[I]n the absence of fraud, duress, or mutual mistake, all extrinsic evidence

must be excluded if the parties have reduced their agreement to an integrated

writing." 41 "The parol evidence rule precludes the admission of extrinsic evidence

of an unambiguous integrated writing in any situation involving parties to the

instrument when the rights and duties created by the document are the dispositive

issue." 42




       40
             See DSDF at if 33.
       41
             Baker v. Bailey, 782 P.2d 1286, 1288 (Mont. 1989).
       42
         Jn re Marriage of Olson, 108 P.3d 493, 497 (Mont. 2005) (citing Habets v. Swanson,
16 P.3d 1035, 1042 (Mont. 2000)).

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      LL has not pled fraud, duress, or mutual mistake. 43 Section Eleven of the

Contract contains an integration clause and, as discussed in detail infra, the

Contract is unambiguous. Parol evidence inconsistent with the terms of the

Contract would be inadmissable. The dispute over such evidence does not

preclude the entry of summary judgment.

                                   The Contract

      The issues in this case are substantially controlled by two provisions of the

Contract: Sections Two and Eleven:

                                  SECTION TWO

                           AGENCY FRANCHISE AGREEMENT



      This Agreement must be renewed every ten years if the requirements
      of this Agreement have been satisfactorily performed. Subsequent
      changes to the law by the legislature may require terms to change in
      future renewals of the agreement.



       During the term of this Agreement, the commission percentage
       discount rate may be reviewed every three years, as provided by law.




       43
            See Doc. 29.
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                                     SECTION ELEVEN

                   MODIFICATION, MERGER, AND DEFINITIONS

      1.        The parties agree that the Department may amend or modify
                this Agreement to conform to changes in state or federal laws,
                or rules or policies of the Department in accordance with
                Administrative Rules Procedures.

      2.        This Agreement contains the entire Agreement between the
                parties, and no statements, promises, or inducements made by
                either party, which are not contained in this written Agreement,
                shall be valid or binding. This Agreement shall not be enlarged,
                modified or altered except in writing signed by all parties,
                except that any change required by a change in Montana law
                shall be effective immediately upon the effective date of such
                change in law, notwithstanding the failure of a party to agree in
                writing to such change; the parties however, shall make
                reasonable efforts to promptly reduce to writing the specific
                changes to the provisions of this Agreement that may be
                required by such change in law.
                                                        44



      LL argues that Section Two provides the only two ways its commission rate

may be modified. It further argues that Section Eleven contemplates changes to the

law but not changes to their commission rate under 16-2-101(4).

      The Contract is to be interpreted to mean what is says, that is, that Section

Eleven requires modification of the Contract upon a change in Montana law.

Specifically, upon enactment of 16-2-101(4), the Contract required LL's


      44
           Doc. 5-1 at 1, 14 (emphasis added).

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commission rate to be modified.

      LL's interpretation of the Contract is untenable. It attempts to insert terms

that do not appear in the plain language of the instrument and is derived from a

fundamental misunderstanding of the permissive "may" in Section Two. "May"

does not connote a mandatory or exclusive course of conduct as claimed. It merely

allows for changes to the Contract every three or ten years. Section Two is silent

as to other events which might allow for or require modification, such as Section

Eleven.

      Unlike Section Two, Section Eleven uses the mandatory term "shall." The

Contract unambiguously states that a change in Montana law requires immediate

modification of the Contract to incorporate the change. 16-2-101(4) changed

Montana law, thus triggering mandatory modification of the Contract under

Section Eleven.

                                    Discussion

     1.    16-2-101(4) does not substantially impair the Contract. The
Contract Clause claim fails.

      The United States Constitution Article I, Section 10 provides "No State

shall ... pass any ... law impairing the Obligation of Contracts .... " The

Montana Constitution similarly mandates that "No ... law impairing the



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obligation of contracts ... shall be passed by the legislature." 45 "The contract

clauses of the Montana and United States Constitutions have generally been

interpreted as 'interchangeable guarantees against legislation impairing the

obligation of contract. "'46 The Contract "Clause is not, however, the Draconian

provision that its words might seem to imply." 47 The United States Supreme Court

has long recognized "that the Contract Clause does not operate to obliterate the

police power of the states." 48

       Contract Clause claims are analyzed using a sequential test. First, the Court

determines if the challenged state law "substantially impairs" the contract in

question. 49 "Total destruction of contractual expectations is not necessary for a

finding of substantial impairment." 50 "On the other hand, state regulation that

restricts a party to gains it reasonably expected from the contract does not




       45
            MONT. CONST. art.   II, § 31.
       46
         City of Billings v. Cty. Water Dist. of Billings Heights, 935 P.2d 249, 251(Mont.1997)
(quoting Carmichael v. Workers' Compensation Court, 763 P.2d 1122, 1125 (Mont. 1988)).
       47
            Allied Structural Steel Co. v. Spannaus, 438 U.S. 234, 240 (1978).
       48
            Id. at 241.
       49 S. Cal. Gas Co. v. City ofSanta Ana, 336 F.3d 885, 889 (9th Cir. 2003); City of
Billings, 935 P.2d at 251.
       50
         Energy Reserves Grp., Inc. v. Kan. Power & Light Co., 459 U.S. 400, 411 (1983)
(citing US. Trust Co. v. New Jersey, 431 U.S. 1, 26-27 (1977)).

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necessarily constitute a substantial impairment." 51 "An impairment of a public

contract is substantial if it deprives a private party of an important right ...

thwarts performance of an essential term ... defeats the expectations of the parties

... or alters a financial term." 52 If no substantial impairment exists, the claim fails

and the inquiry ends.

      If a substantial impairment does exist, the next question is whether the state

has a significant and legitimate purpose for the law. 53 If so, the final inquiry is

whether the law imposes reasonable conditions which are reasonably related to

achieving the state's significant and legitimate purpose. 54

      The only impairment arising from the amendment in§ 16-2-101(4) of which

LL complains is the lowering ofLL's commission rate by 4%. This impairment is

not substantial and does not alter the fundamental nature of the Contract. Nor does

it deprive LL of any right guaranteed by the Contract.

       LL predicts it will lose some $600,000 in gross revenue yearly once 16-2-

101 (4) is fully implemented. However, "when considering substantial impairment,

[courts] focus on the importance of the term which is impaired, not the dollar

       51
            Id. (citing US. Trust Co., 431 U.S. at 31).
       52
            S. Cal. Gas Co., 336 F.3d at 890 (citations omitted).
       53
            Energy Reserves Grp., Inc., 459 U.S. at 411.
       54
            Id. at 412.

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amount. " 55

       LL entered into the Contract with full knowledge that the liquor industry in

Montana is heavily regulated. 56 The Contract itself, in three separate sections,

gives notice that commission rates may change. 57 A downward adjustment in

commission rate clearly was not beyond the reasonable expectations of the parties

to the Contract, especially in light of Section Eleven's unequivocal language that

changes in Montana law will immediately modify the Contract. The effect of 16-2-

101 (4) in restricting LL to gains it reasonably expected from the Contract is not a

substantial impairment.

       LL makes the hyperbolic argument that a ruling in favor of Defendants will

give the state unbridled power to manipulate its contracts. The undisputed material

facts of this case, however, warrant the ruling as a matter of law that the Contract

Clause was not violated. In this Court, the law is applied to the facts presented, no

more, no less. The Court cannot and will not make a ruling or offer any advisory

opinion regarding some hypothetical action by the state.

       Defendants are entitled to summary judgment of the Contract Clause claim.



      55
            S. Cal. Gas Co., 336 F.3d at 892.
       56
            PSDF at if 17.
       57
            Doc. 5-1 at 1, 11, 14.

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The Contract is unambiguous. 16-2-101(4) did not substantially impair the

obligations of the Contract contrary to either the United States or Montana

Constitutions.

      2.     Defendants did not breach the Contract or the implied covenant
of good faith and fair dealing.

                 a.     Breach of Contract

       Under Montana law, "'a breach of contract is a failure, without legal excuse,

to perform any promise that forms the whole or part of a contract. "' 58 No breach

can be said to have taken place by implementation of 16-2-101(4).

       LL argues that the promise Defendants are failing to perform is "a

commission that can be changed only with the consent of the franchisee during the

ten-year term of the contract."59 However, no such promise is to be found in the

Contract. Section Eleven clearly states that the Contract shall be modified to

comport with changes in Montana law, "notwithstanding the failure of a party to

agree in writing to such change .... " 60 Nothing in the record suggests Defendants

have acted contrary to the terms of the Contract. Defendants are entitled to



       58
         State Farm Mut. Auto. Ins. Co. v. Freyer, 312 P.3d 403, 411 (Mont. 2013) (quoting
Richard A. Lord, Williston on Contracts vol. 23, § 63:1 at 434 (4th ed., West Group 2002)).
       59
            Doc. 49 at 25.
       60
            Doc. 5-1 at 14.

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summary judgment of the claim for breach of contract.

            b.           Breach of the Implied Covenant of Good Faith and Fair
      Dealing

      "'[T]he [implied] covenant [of good faith and fair dealing] is a mutual

promise implied in every contract that the parties will deal with each other in good

faith, and not attempt to deprive the other party of the benefits of the contract

through dishonesty or abuse of discretion in performance.'" 61 "The covenant ...

[however] cannot be read to prohibit a party from doing that which the agreement

expressly permits." 62

      LL alleges that Defendants violated the covenant "[b]y not advocating for or

insisting upon a savings clause in [Senate Bill] 193, and by arguing that the

generic modification clause of Section 11 of the [Contract] allowed DOR to void

fundamental provisions of the [Contract] .... " 63 LL further argues that a breach

occurred "when DOR employees made repeated assurances to Robin Hawkinson

and then the Pafthausens that the commission rate could never be lowered during




       61Phelps v. Frampton, 170 P.3d 474, 482 (Mont. 2007) (quoting Beaverhead Bar Supply
v. Harrington, 805 P.2d 560, 564 (Mont. 1991)).
       62Hardy v. Vision Serv. Plan, 120 P.3d 402, 405 (Mont. 2005) (citing Farris v.
Hutchinson, 838 P.2d 374, 377 (Mont. 1992)).
       63
            Doc. 29 at 17, i! 80.

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the term of the contract." 64 The short answer is none of these allegations, even if

factually proven, support a claim.

      The first, not advocating for a savings clause in Senate Bill 193, is not

supported by law. Further, it is simply unreasonable to assume that DOR had the

duty, somehow derived from the Contract, to advocate before the legislature in

favor ofLL's interest. It defies logic and reason to assert that DOR's argument for

a reasonable interpretation of the Contract somehow breaches the covenant.

      The third argument, that DOR employees allegedly told LL' s past and

current owners that the commission rate could never go down, is an effort to vary

the clear terms of the Contract by injection of inadmissable parol evidence. No

admissible evidence of this specific claim is properly before the Court, it is

unworthy of further consideration. Summary judgment for Defendants on LL's

second claim, breach of contract and for breach of the implied covenant of good

faith and fair dealing, is appropriate.

      3.    LL is not treated differently from other agency stores. The equal
protection "class of one" claim fails.

       Both the United States and Montana Constitutions provide that no person

will be denied equal protection of the laws. 65 Under the United States Constitution,


       64
            Doc. 49 at 25-26.
       65
            U.S. CONST. amend. XIV, § 1; MONT. CONST. art. II, § 4.

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"'an equal protection claim can in some circumstances be sustained even ifthe

plaintiff has not alleged class-based discrimination, but instead claims that she has

been irrationally singled out as a so-called "class of one.""' 66 However, such a

"class of one" claim in this case fails.

       LL did not present, nor does this Court discern, a legal basis for its "class of

one" claim under the Montana Constitution. 67 Its equal protection claim will be

treated as a claim under the United States Constitution only.

       To succeed with the "class of one" claim, LL must demonstrate that the

Defendants: ( 1) intentionally; (2) treated LL differently from others similarly

situated; and did so (3) without a rational basis. 68

       As evidence that 16-2-101(4) does not treat LL differently from other

agency stores, Defendants cite to the statute itself, which states in pertinent part:

              Beginning February 1, 2016, each agency liquor store's
       commission rate is equal to the agency liquor store's combined
       commission rate on December 31, 2015, plus 1/3 of the difference
       between the agency liquor store's commission rate as determined in
       subsection (4)(b) and the agency liquor store's combined commission
       rate on December 31, 2015. Beginning February 1, 2017, each agency
       liquor store's commission rate is equal to the agency liquor store's


       66
         Gerhart v. Lake Cty., 637 F.3d 1013, 1021 (9th Cir. 2011) (quoting Engquist v. Or.
Dep't ofAgric., 553 U.S. 591, 601 (2008)).
       67
            See Doc. 49 at 26-27.
       68
            See Gerhart, 637 F.3d at 1022.

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      combined commission rate on December 31, 2015, plus 2/3 of the
      difference between the agency liquor store's commission rate as
      determined in subsection (4)(b) and the agency liquor store's
      combined commission rate on December 31, 2015. Beginning
      February 1, 2018, each agency liquor store's commission rate is
      determined as in subsection (4 )(b ). 69

The statute plainly applies to all agency stores. LL fails to offer any evidence that

it is being treated differently from other agency stores.

      LL argues that 16-2-101(4) detrimentally affected its business more than

any other agency store. However, the equal protection "class of one" test is

whether the state treated LL differently from other agency stores, not whether the

state's uniform treatment of all agency stores affected LL differently.

      LL is not being treated differently from other agency stores. Defendants are

entitled to summary judgment on the equal protection "class of one" claim.

     4.    Defendants have not taken a property interest from LL. The
Takings Clause claim fails.

      The United States and Montana Constitutions both provide that private
                                                                      70
property cannot be taken for public use without just compensation. "[T]he

protection against a 'taking' of private property under [the Montana Constitution]




       69
            MONT. CODE ANN. § 16-2-101(4)(a) (2015).

       70
            U.S. CONST. amend. V; MONT. CONST. art. II,§ 29.

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is coextensive with the protection given under the [United States Constitution]." 71

Established Ninth Circuit precedent analyzes Takings Clause claims in two steps:

"first, ... determine whether the subject matter is 'property' within the meaning of

the Fifth Amendment and, second, ... establish whether there has been a taking of

that property, for which compensation is due." 72

       The United States Supreme Court has stated that for purposes of the Takings

Clause, "[v]alid contracts are property, whether the obligor be a private individual,

a municipality, a state, or the United States." 73 "Contract rights are a form of

property and as such may be taken for a public purpose provided that just

compensation is paid." 74

       In Penn Central Transportation Company v. City ofNew York, the United

States Supreme Court established that three factors are relevant to determining if a

regulatory taking has occurred: (1) "[t]he economic impact of the regulation on the

claimant ... [(2)] the extent to which the regulation has interfered with distinct

investment-backed expectations ... [and (3)] the character of the governmental

       71
            Buhmann v. State, 201 P.3d 70, 85 (Mont. 2008).
       72
         Engquist v. Or. Dep 't ofAgric., 478 F.3d 985, 1002 (9th Cir. 2007) (citing In re
Consol. US. Atmospheric Testing Litig., 820 F.2d 982, 988 (9th Cir. 1987)).
       73
            Lynch v. US., 292 U.S. 571, 579 (1934).
       74
         US. Trust Co., 431 U.S. at 19 n. 16 (citing Contributors to Penn. Hospital v.
Philadelphia, 245 U.S. 20 (1917)).

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action." 75 In making a Penn Central analysis, "[t]here is no set formula for

determining when an economic injury occasioned by regulation must be

compensated by government." 76

       LL has claimed that 16-2-101(4) acts as a regulatory taking of its property

interest. Precisely what property interest LL claims has been taken is not

adequately identified and remains unclear. The Complaint alleges the property

interest to be the Contract. 77 However, the Contract was not "taken." It remains as

a valid and binding obligation of both parties, albeit in a modified form after 16-2-

101 (4) went into effect in 2016, leaving LL with the complaint that it no longer

may claim the 16.144% commission rate. However, the 16.144% commission rate

was not a right. Rather, it was subject to both Section Two and Section Eleven of

the Contract, which clearly stated the commission rate may be modified as

appropriate under the law. LL did not have a vested right to the 16.144%

commission rate. It had and continues to have a right to a commission rate

calculated under applicable Montana law. Neither 16-2-101(4) nor any of the

Defendants have taken that contract right from LL.


       75
            Penn Cent. Transp. Co. v. City ofNew York, 438 U.S. 104, 124 (1978).
       76
        Am. Sav. and Loan Ass 'n v. Cty. of Marin, 653 F.2d 364, 368 (9th Cir. 1981) (citing
Penn Cent. Transp. Co., 438 U.S. at 124).
       77
            See Doc. 29 at 20.

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      Summary judgment for Defendants on the Takings Clause claim is

appropriate.

      5.   16-2-101(4) is not arbitrary or unreasonable. It has a legitimate
public purpose. The substantive due process claim fails.

      The United States Constitution and the Montana Constitution both provide

that no person shall be deprived of life, liberty, or property without due process of

law. 78 No due process claim is raised.

      a.        Fourteenth Amendment Substantive Due Process

      Under the United States Constitution, '" [a] threshold requirement to a

substantive or procedural due process claim is the plaintiffs showing of a liberty

or property interest protected by the Constitution. "' 79 "Protected property interests

'are not created by the Constitution[, but r]ather ... they are created and their

dimensions are defined by existing rules or understandings that stem from an

independent source such as state law. "' 80

       As stated above, LL had a property interest in a commission rate lawfully

calculated by Montana law, no more, no less. 16-2-101(4) did not deprive LL of


       78
            U.S. CONST. amend. XIV,§ l; MONT. CONST. art II,§ 17.
       79  Ching v. Mayorkas, 725 F.3d 1149, 1155 (9th Cir. 2013) (quoting Wedges/Ledges of
Cal., Inc. v. City of Phoenix, 24 F.3d 56, 62 (9th Cir. 1994)).
       80 Johnson v. Rancho Santiago Community College Dist., 623 F.3d 1011, 1030 (9th Cir.
2010) (citing Wedges/Ledges of Cal., 24 F .3d at 62).

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this right. The due process claim under the United States Constitution fails.

      b.          Montana Substantive Due Process

      Unlike Fourteenth Amendment substantive due process, a substantive due

process claim under the Montana Constitution may exist "' [e]ven though a

plaintiff may have no property or liberty interest grounded in state law which is

protected from arbitrary government action .... "' 81 Indeed, the Montana Supreme

Court recently noted that "[t]here is no need to define life, property or liberty for

substantive due process analysis .... All laws might be said to restrict [an]

individual's use of property rights or personal liberty, in the sense of restricting

which actions the individual can take in society." 82

       To establish a violation of substantive due process under the Montana

Constitution, LL must overcome the presumption that 16-2-101(4) is
                                                                                        83
constitutional by showing it "is not rationally related to a legitimate interest."

Accordingly, the Court examines "(1) whether the legislation in question is related

to a legitimate governmental concern, and (2) whether the means chosen by the



       81Powell v. State Comp. Ins. Fund, 15 P.3d 877, 884 (Mont. 2000) (quoting Newville v.
State, Dep 't of Family Serv., 883 P.2d 793, 800 (Mont. 1994)).
       82 Mont. Cannabis Indus. Ass 'n v. State, 368 P.3d 1131, 1140 (Mont. 2016) (quoting 2
Ronald D. Rotunda & John E. Nowak, Treatise on Constitutional Law: Substance and Procedure
§ 15.5 at 847-48 (5th ed. 2012)).

       s3   Id.

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Legislature to accomplish its objective are reasonably related to the result sought

to be attained." 84 "The legislation's purpose 'does not have to appear on the face of

the legislation or in the legislative history, but may be any possible purpose of

                                          85
which the court can conceive. "'

      Defendants have provided two legitimate purposes behind 16-2-101(4): (1)

prevent similarly situated stores from having drastically different commission

rates, thereby giving some stores an arbitrary, unfair advantage; and (2) stabilize

                                                                              86
and preserve the franchise system by eliminating "rate creep." The Court

concludes that 16-2-101(4)'s implementation of a uniform, sliding scale

calculation for commission rate is rationally related to such purposes.

          Defendants are entitled to summary judgment of the substantive due process

claims.

          ORDERED:

          1.        Defendants' Motion for Summary Judgment, Pursuant to Fed. R. Civ.

P. 56(a)87 is GRANTED.



          84   Id. (citing Walters v. Flathead Concrete Products, Inc., 249 P.3d 913, 918 (Mont.
2011)).
          85   Id. at 1141 (quoting Walters, 249 P.3d at 920) (internal quotation marks omitted).
          86
               See Doc. 52 at 18.
          87
               Doc. 36.

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      2.       LL Liquor's Motion for Partial Summary Judgment on Count I88 is

DENIED.

      3.       LL Liquor's Motion in Limine to Exclude the State's Expert Opinion

Testimony89 and Defendants' Motions in Limine 90 are DENIED as moot.

      4.       The clerk is directed to enter judgment in favor of Defendants

consistent with this   Order~

      DATED this ~day of April, 2017.


                                             ~f#Wd~
                                                 United States District Judge




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           Doc. 39
      89
           Doc. 45.
      90
           Doc. 47.

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